Case 9:22-mj-08332-BER Document 97 Entered on FLSD Docket 08/26/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT

  _ _ ______ _ ____ /
                                                         FILED UNDER ~~ ··~
                                                                                Di .
                                                                                   B~
                                                                                                          D.C.

                                                                                   AUG 2 6 2022
                                                                                  ANGELA E. N06LE
                                 P&OPOSRl:} ORDER TO SEAL                        CLERK U.S. DIST, CT.
                                                                                 S.0 . OF FLA. - W.P.6.

          The United States of America, having applied to this Court for an Order sealing the

  Notice of Filing of Redacted Memorandum, and the Court finding good cause:

          IT IS HEREBY ORDERED that the Notice of Filing of Redacted Memorandum, the

  accompanying attachment, the Motion to Seal, and this Order shall be filed under seal until

  further order of this Court.

          DONE AND ORDERED in chambers at Palm Beach County, Florida, this           U day
  of August, 2022 .




                                           UNITED TATES MAGISTRATE JUDGE
                                           SOUTHERN DISTRICT OF FLORIDA


  Deliver copy to:
